                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                      3:09cr189


UNITED STATES OF AMERICA,                        )
                                                 )
                       Plaintiff,                )
                                                 )
               v.                                )     FINAL ORDER AND JUDGMENT
                                                 )       CONFIRMING FORFEITURE
(2) SILAS JUNIOR MOBLEY,                         )
(3) MARVIN SUNTATE MOBLEY,                       )
                                                 )
                       Defendants.               )


       On December 28, 2010, this Court entered a Preliminary Order of Forfeiture (Doc. No.

111) pursuant to 21 U.S.C. § 853 and Fed. R. Crim. P. 32(d)(2), based upon the Defendants’

conviction at trial by the jury on Counts One and Three in the Bill of Indictment and evidence

already on record; and was adjudged guilty of the offenses charged in those counts.

       On January 23, 2011 through February 21, 2011, the United States published via

www.forfeiture.gov, notice of this forfeiture and of the intent of the government to dispose of the

forfeited property according to law, and further notifying all third parties of their right to petition

the Court within sixty days from January 23, 2011 for a hearing to adjudicate the validity of any

alleged legal interest in the property. It appears from the record that no such petitions have been

filed. Based on the record in this case, including the defendant’s plea of guilty, the Court finds,

in accordance with Rule 32.2(c)(2), that the Defendants had an interest in the property that is

forfeitable under the applicable statute.

       It is therefore ORDERED:

       In accordance with Rule 32.2(c)(2), the Preliminary Order of Forfeiture is confirmed as




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final. All right, title, and interest in the following property, whether real, personal, or mixed, has

therefore been forfeited to the United States for disposition according to law:

       $30,540.00 in United States currency seized from Defendants.
                                             Signed: August 11, 2011




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